&lt;div data-spec-version="0.0.3dev" data-generated-on="2024-08-11"&gt;
 &lt;div class="generated-from-iceberg vlex-toc"&gt;
 &lt;link href="https://doc-stylesheets.vlex.com/ldml-xml.css" rel="stylesheet" type="text/css"&gt;&lt;/link&gt;
 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header" data-refglobal="case:peopleofthestateofcoloradovsmithno24sc102august5,2024"&gt;&lt;p class="ldml-metadata"&gt;
 1
 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;The People of the State of Colorado&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Christopher G. Smith&lt;/span&gt;. &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 24SC102&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;August 5, 2024&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="160" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="160" data-sentence-id="177" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Court
 of Appeals&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_177"&gt;&lt;span class="ldml-cite"&gt;Case No. 21CA1738&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion content__heading content__heading--depth1" data-content-heading-label="Opinion"&gt;&lt;p data-paragraph-id="218" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="218" data-sentence-id="241" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;DENIED &lt;span class="ldml-entity"&gt;PETITIONS FOR WRIT&lt;/span&gt; OF CERTIORARI&lt;/b&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="281" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="281" data-sentence-id="282" class="ldml-sentence"&gt;2&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="284" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="284" data-sentence-id="300" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petition
 for Writ&lt;/span&gt; of Certiorari DENIED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="346" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="346" data-sentence-id="362" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE
 &lt;span class="ldml-entity"&gt;BOATRIGHT&lt;/span&gt;&lt;/span&gt; would grant as to the following issue:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="425" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="425" data-sentence-id="441" class="ldml-sentence"&gt;If &lt;span class="ldml-entity"&gt;the
 trial court&lt;/span&gt; properly instructs the jury on every element of
 the substantive offense &lt;span class="ldml-parenthetical"&gt;(second-degree murder)&lt;/span&gt; but improperly
 refuses to instruct the jury on a mitigating factor that can
 only affect sentencing &lt;span class="ldml-parenthetical"&gt;(heat of passion)&lt;/span&gt;, should &lt;span class="ldml-entity"&gt;the
 prosecutor&lt;/span&gt; be forced to retry the offense on remand?&lt;/span&gt; &lt;span data-paragraph-id="425" data-sentence-id="767" class="ldml-sentence"&gt;Or
 should &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt; have the option of accepting the
 jury's conviction-while conceding the sentencing
 mitigator?&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;